                                 COURT OF APPEALS
                              EIGHTH DISTRICT OF TEXAS
                                   EL PASO, TEXAS


                                              §
 DAVID BARRON,                                               No. 08-12-00184-CR
                                              §
                            Appellant,                          Appeal from the
                                              §
 v.                                                           210th District Court
                                              §
 THE STATE OF TEXAS,                                       of El Paso County, Texas
                                              §
                            Appellee.                        (TC# 20120D01101)
                                              §

                                        JUDGMENT

       The Court has considered this cause on the record and concludes the judgment of

conviction should be reformed to reflect an affirmative deadly weapon finding. We therefore

affirm the judgment of the trial court as reformed. This decision shall be certified below for

observance.


       IT IS SO ORDERED THIS 12TH DAY OF AUGUST, 2016.


                                           YVONNE T. RODRIGUEZ, Justice

Before McClure, C.J., Rodriguez, and Hughes, JJ.
